v U Case: 1:24-cv-04344 Document #: 1 Filed: 05/28/24 Page 1 of 32 PagelD #:1

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

LARRY OTIS SaAcksow IK TRUST

) United States District Court
) Northern District of [linois

Plaintiff )
)

V. ) 24cv4344

Ni 4 ) Judge Durkin
BMD Bawk NA. Magistrate Judge Kim
Defendant ) Randomly Assigned CAT 2
COMPLAINT

FILED

MAY 28 2024 \B

___ THOMASG. ERUTON
CLERK, U.S. DISTRICT COURT
Case: 1:24-cv-04344 Documer®@MPERNT 05/28/24 Page 2 of 32 PagelD #:2
LARRY OTIS JACKSON JR TRUST the COPYHOLD TRUSTEE/Estate/Bailor also under any and all derivatives and

variation in the spelling thereof, with the exception of "Larry-Otis:Jackson Jr", with ALL property Lawfully part of the TRUST
held as a foreign Trust Estate 28 U.S.C. 1603(b)(3); 8 U.S.C. 1101(a)(14); 26 U.S.C. 7701(a)(31).

(1.)The "Plainttiff’, "LARRY OTIS JACKSON JR TRUST", by way and through its "SECURED PARTY/TRUSTEE", "Larry-
Otis:Jackson Jr.” is a FINANCIAL INSTITUTION through The Department of Treasury: third party agent "INTERNAL
REVENUE SERVICE".

(2.) The "Defendant" BMO BANK N.A continue to seek payment from the Plaintiff/Secured Party for credit(s) service through
the Defendant as the third party. Secured Party/Trustee has made contact with the Defendant to notify them of the "TRUST"
staking claim of DEBT/CREDIT of aforesaid Account/property.

(3.) Defendant's knowledge of the continued unlawful use of the Monetization by way of: Harassment through phone call(s) by
agent(s), Payment slip(s), and Threaten of Repossession/Foreclosure of Plaintiff property, which is unlawful. Defendant
continue to "PROFIT" off Plaintiff/Secured Party, Name and Credit.

(4.) SECURED PARTY/TRUSTEE is requesting for the settle/closure of the Account No.000009801481766: in the amount of
$9,101.14 and any interest. SECURED PARTY/TRUSTEE has CLAIMED aforesaid Account/property under 11 U.S.C 101(5)
an ALL accounts are to be transferred to SECURED PARTY/TRUSTEE sole control,without prejudice, for cause.

(5.) Secured Party/Trustee also request for the TITLE/DEED which Plaintiff should have recieved upon completion

of this Transaction. Secured Party/Trustee request for the return of ALL past payment(s) posted to this Account, Document(s),
Statement(s) and ANY Paperwork related to the Trade and Commerce of aforesaid Account. If request not granted SECURED
PARTY/TRUSTEE will be prepared to file a Commercial/Tort Lien(s) against Defendant for: unlawfully holding TRUST Asset(s)
stopping commerce, and stopping "TRUST" business. Upon violation(s) to (TRUST), Secured Party/Trustee will be suing the
Defendant in the amount of $3,500,000 with $100,000 per day after Levy/Lien is filed, until Secured Party is paid and/or fully
satisfied. ( See attachments Exhibit C and D)

(6.) Exhibit A, attachments shows Secured Party/Trustee has provided Defendant with an Official IRS Acceptance of the

1099-A tax form, which a copy has been sent to Defendant by mail from IRS for there records. Secured Party/Trustee has
submitted similar Document(s) via Certified mail, Email(s), and made contact by phone with Agent(s) to confirm recieved
paperwork but could not process it. Document showing the completed process of Payer: "LARRY OTIS JACKSON JR

TRUST" Financial Institution has performed a transaction to Defendant Financial Institution which was Accepted by

BMO BANK N.A."
(\)
Case: 1:24-cv-04344 Document #: 1 Filed: 05/28/24 Page 3 of 32 PagelD #:3
(7.) Exhibit B, attachments shows (TRUST) Documents stating Secured Party/Trustee has Authority over ALL account(s)

relating to (TRUST).

(8.) Exhibit C, attachments shows the Common Law Copyright Notice. Defendant has failed to adhere to Secured Party/
Trustee request for the removal of information and discontinuation of use of all information held in copyright that contains
copyrighted material(s) from ALL Databases, Publications, chronicles, manifestos, and/or record(s) of any type. Secured
Party/Trustee will be seeking damages for Unauthorized use of Copyright for the Asset/Property in the sum $500,000 per
occurrence for: Violation of Unauthorized use of Copyright trade-name/trademark, plus Triple Damage(s). Plaintiff suing for
$1,500,000 total for Unauthorized use of Copyright.(See attachments)

(9.) Exhibit D, attachments shows the Legal Notice of Demand. This is a contract that states who is in control of ALL
Asset(s)real property, and ALL account(s) related to Plaintiff. Defendant has failed to release the property ( Certifcate of
Title/Deed)belonging to Plaintiff. Billing cost assessed with Levies and Lien upon violation(s) shall be for: Defendant(ALLY
FINANCIAL) is unlawfully holding Asset/Property belonging to Plaintiff. $2,000,000 per occurrence, and $100,000 per day
until property (Certifcate of Title/Deed) is mailed to Secured Party/Trustee. (See attachments)

(10.) Igorance of the Law is No Excuse: | Larry-Otis:Jackson Jr, Secured Party/Trustee am the principal, and you are the
agent Failure to adhere to you oath(s) lest you be called to answer before GOD and Supreme Court of Exclusive and
Original Jurisdiction, which is the court of First and Last resort, not excluding my "Good Faith Oxford Doctrine" by my
Conclusive Honorable "Bill of Rights."

Wherefore, Plaintiff/Secured Party, LARRY OTIS JACKSON JR TRUST prays for judgement against Defendant BMO BANK

N.A: in the sum of $3,500,000 in the amount together.

RESPECTFULLY

May AB, 3024

Larry-Otis:Jackson Jr/ EXECUTOR-TRUSTEE orang “Dts ff aller f-.

C/O 25706 W LILAC AVE OCCUPANT OF EXECUTOR oFFIe OF

MONEE, ILLINOIS [60449] LARRY OTIS JACKSON JR TRUST
TELEPHONE: 708-964-8023

EMIAL: Larryjrjackson956@gmail.com

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Nore. , Noo8 te haoy Me

~ A s ft,
VF ."4RUSy,” oS
SHOPS
=* ‘a=
= ° A:
LATANIA JOHNSON S53 ILLINOIS t=
OFFICIAL SEAL 7 \ 24°, 2023 Ss
Notary Public, State of Illinois i % o soe ° Ss
My Commission Expires “nf Yacnaon SW
February 21, 2027 HW \\\

Case: 1:24-cv-04344 Document #€¥HIBIECA'D5/28/24 Page 4 of 32 PagelD #:4

RY: Lary-Otts:Sackson wr

OCCUPANT OF EXECUTOR OFFICE OF
LARRY OTIS JACKSON JR TRUST
Case: 1:24-cv-04344 Document #: 1 Filed: 05/28/24 Page 5 of 32 PagelD #:5

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LoA

Pp Se Et

ect: Tax1099.com Return Accepted
Jace: Mar 31, 2024 at 11:31:18 PM

(o: LARRYJRJACKSON956@gmail.com
Cc: Tax1099 Support info@tax1099.com

4 ZENWORK IRS
Tax 1099 C"} support@tax1099.com Zones

Accepted by the Internal Revenue Service

Dear larry-otis jackson,

Congratulations! This Is the official IRS acceptance of your 1099-A tax return. Below are the details of
this filing and acceptance.

You may download 1099-A form anytime from our website, available in PDF format.

Payer Name :LARRY OTIS JACKSON JR TRUST
Tax Year :2023

Form Name :1099-A

Tax1099 Reference Number :2082 10099

Accepted Recipient Forms:BMO BANK N A
Thank you,

Taxi099.com Support.

You can access your account any time at: http: //woww.tay1099.com

et dee ET

Please print this email for your future records.

*DO NOT REPLY TO THIS E-MAIL MESSAGE*

> faxios9.com

(1)
Case: 1:24-cv-04344 Document #: 1 Filed: 05/28/24 Page 6 of 32 PagelD #:6

Wil

=CORRECTED (if checked)

LENDER'S name, street address, city or town, stateser province,
country, ZIP or foreign postal code, and telephone aa

ILARRY OTIS JACKSON JR TRUST

Larry-Otis Jackson Jr

IPO BOX 168

Richton Park LL 60471-9998

US - Phone: 7089648023

BORROWER’S TIN
XX-XXX5229

LENDER’S TIN
193-6760817

OMB No. 1545-0877
Form 1099-A Acquisition or
Rev. January 2022) | Abandonment
of Secured
For calendar year Property
2023
1 Date of lender’s acquisition}2 Balance of principal Copy B
r knowledge of outstanding , .
bandonment $9101.14 For Borrower
2/12/2024 This is important

tax information

BORROWER'S name,Street address (including apt. no.),City or town,
state or province, country, and ZIP or foreign postal code

IBMO BANK NA

TAYFUN TUZAN

1158. LASALLE ST FLR 18W

ICHICAGO IL 60603

US

4 Fair market value of
property
{$0.00

and is being
furnished to the
IRS. If you are
required to file a
return, a

5 If checked, the borrower was personally liable for
repayment of the debt

negligence penalty
or other sanction
may be imposed
on you if taxable

>

6 Description of property
2014 hyundai santa fe

Account number (see instructions)
000009801481 766

income results
from this
transaction and the
IRS determines
that it has not been
reported

Form 1099-AcRev. 1-2022)

Instructions for Borrower

Certain lenders who acquire an interest in property that was security for a loan
or who have reason to know that such property has been abandoned must
provide you with this statement. You may have reportable income or loss
because of such acquisition or abandonment. Gain or loss from an acquisition
is generally measured by the difference between your adjusted basis in the
property and the amount of your debt canceled in exchange for the property or,
if greater, the sale proceeds. If you abandoned the property, you may have
income from the discharge of indebtedness in the amount of the unpaid
balance of your canceled debt. The tax consequences of abandoning property
depend on whether or not you were personally liable for the debt. Losses on
acquisitions or abandonments of property held for personal use are not
deductible. See Pub. 4681 for information about your tax consequences.
Property means any real property (such as a personal residence), any
intangible property, and tangible personal property that is held for investment
or used in a trade or business.

If you borrowed money on this property with someone else, each of you
should receive this statement.

Borrower’s taxpayer identification number (TIN).For your protection, this
form may show only the last four digits of your TIN (social security number
(SSN), individual taxpayer identification number (ITIN), adoption taxpayer
identification number (ATIN), or employer identification number (EIN)).
However, the issuer has reported your complete TIN to the IRS.

Account number.May show an account or other unique number the lender
assigned to distinguish your account.

Box 1.For a lender’s acquisition of property that was security for a loan, the
date shown is generally the earlier of the date title was transferred to the lender

www.tax 1099.com - IRS Approved e File Provider

www.irs.gov/Form1099A

or the date possession and the burdens and benefits of ownership were
transferred to the lender. This may be the date of a foreclosure or execution
sale or the date your right of redemption or objection expired. For an
abandonment, the date shown is the date on which the lender first knew or had
reason to know that the property was abandoned or the date of a foreclosure,
execution, or similar sale.

Box 2. Shows the debt (principal only) owed to the lender on the loan when
the interest in the property was acquired by the lender or on the date the lender
first knew or had reason to know that the property was abandoned. Box 3.
Reserved for future use.

Box 3. Reserved for future use.

Box 4. Shows the fair market valuc of the property. If the amount in box 4 is
less than the amount in box 2, and your debt is canceled, you may have
cancellation of debt income. If the property was your main home, see Pub. 523
to figure any taxable gain or ordinary income.

Box 5. Shows whether you were personally liable for repayment of the debt
when the debt was created or, if modified, when it was last modified.

Box 6. Shows the description of the property acquired by the lender or
abandoned by you. If“CCC” is shown, the form indicates the amount of any
Commodity Credit Corporation loan outstanding when you forfeited your
commodity.

Future developments. SFor the latest information about developments related
to Form 1099-A and its instructions, such as legislation enacted after they
were published, go to www.irs.gov/Form1099A,

Free File Program, Go to www.irs.gov/FreeFile to see if you qualify for no-
cost online federal tax preparation, e-filing, and direct deposit or payment
options.
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BMO €)

Notice Date: 02-04-2024

BMO

Attn: Payoff Department, Floor 2 Quad A
1200 Warrenville Rd

Naperville, IL 60563

Attention: LARRY JACKSON

Please find information below regarding your request to pay off your personal installment loan. Please note that the payoff figure
below does not reflect any payments or fees incurred but not yet billed after 02-04-2024. To verify your payoff figure at closing,
please request another payoff letter through BMO Digital Banking.

Personal Installment Loan Payoff Statement

BORROWER(S) LOAN NUMBER COLLATERAL
LARRY O JACKSON *1766
2900 CAMPBELL ST
JOLIET, IL 60435-6492
ACCOUNT BREAKDOWN DOLLAR AMOUNT PAYOFF SUMMARY
Original Loan Amount 10,430.25 Payoff Amount 9,101.14
Good Until 02-14-2024
Unpaid Principal 8,943.34 Interest Per Diem 2.36
Interest 153.25
Late Charges 4.55
Additional Fees 0.00
Please mail your payoff check (and if appropriate the signed letteror § *BMO Overnight mail payoffs:*
letter of direction) to: P.O. Box 5735 FIS
Carol Stream, IL 60197-5735 BMO Lockbox 9202

270 Remington Blvd, Suite B
Bolingbrook, IL 60440

*Hand-carried payments are not accepted at this location. You can either mail your payoff to the address above or drop it off at any BMO
Branch.

If you paid off your loan early, you may be eligible for a pro-rata refund for gap or insurance products depending upon the terms outlined on your
original product certificate(s). Please contact the dealership from which you purchased your vehicle or the product administrator to cancel any
financed gap or insurance products and obtain the amount of such refund.

BMO Bank N.A. Member FDIC

EQUAL HOUSING
LENDER

(3)
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10:01 0 >

< Mar 3, 2024

We found 1 change to your TransUnion credit
report

617 --

Credit score since Mar 1, 2024

Balance Increased

BMO HARRIS BANK N.A. account balance “W

increased

Between Jan 31, 2024 and Feb 29, 2024, your
BMO HARRIS BANK N.A. automotive account
balance increased by $127 from $8,943 to
$9,070.

It looks like your balance went up. This could
be the result of a missed payment, which can
have a negative effect on your score. Your total
debt also typically factors into your credit
score, so it's best to keep it low if you can.

a «+ & ©

Today Credit Cards Loans Money

(4)
Case: 1:24-cv-04344 Document #™4IBIECP'05/28/24 Page 9 of 32 PagelD #:9

BY: Larry-Ctis Jackson aw

OCCUPANT OF EXECUTOR OFFICE OF
LARRY OTIS JACKSON JR TRUST
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LARRY OTIS
JACKSON JR TRUST

DOCUMENTS INCLUDED
BSTRACT OF TRUST
CERTIFICATION OF TRUST

2713 OXFORD

laryyryacksong sé

BR. MARKHADPA, IL. 40426

agmaii com ( 708} 764-3023

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ABSTRACT OF TRUST

Section I: Trust Information

Trust Information and Dates
a. The Trust is legally named “LARRY OTIS JACKSON JR Trust”
b. The trust is Irrevocable
c. This trust was established May 8. 2023 at:
2713 GXFORD DR, MARKHAM, IL, 60426.
d. This trust has not been amended.

e. The EIN of this trust is O2,- é] &O ei L.

Section HU: Trustee Information

Current Acting Trustee(s)
a. Larry-Otis: Jackson Jr, TTEE
b. Zederick D Jackson Sr, TTEE

The Trust requires unanimous consent among the Trustee(s) to establish an account with respect
to Trust assets, but only one trustee is required to be an authorized account manager.
There are currently no Successor Trustees.

Section Ill: Beneficiary Information

The Certificate Holders are:
a. Alexanderea E Jackson

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CERTIFICATION OF TRUST

This Certification of Trust was created May 8, 2023. The Trust has been legally created as an Irrevocable Trust. All
rights and title to the assets and income of this Trust 18 vested solely in the Board of ‘Trustces.

We Larry-Otis: Jackson Jr, TTEE and Zederick D Jackson Sr, TTEE certify that we are the trustees of a trust entitled
LARRY OTIS JACKSON JR TRUST, created by Declaration of Trust dated May 8, 2023.

We the undersigned, as the current acting Trustees declare and certify to this financial institution:

te

il.

We declare that I have full authority under the above referenced Trust to sign on behalf of the Trust and to
open and close accounts, perform deposits, withdraw, and transfer funds on behalf of the Trust.

We declare that L have full authority under the above referenced trust to open, enter and remove contents
and close safe deposit boxes and open or close accounts.

Without limiting the foregoing specitically, we have the authority to open accounts, perform deposits, and
withdraw funds, transfer funds, and close accounts at the aforesaid bank.

The Trustee will not direct aforesaid bank to take any action unless the Trustee has the power to act and
such powers are properly exercised.

Pursuant to the terms of the Trust, the Trustee has the power to contract for banking and ather financial
services and to transfer, purchase and/or sell financial assets and investments, including securities.

If requested, we will provide Bank with copies of excerpts of the original Trust instrument and
amendments designating the Trustce and/or other powers conferred on Trustce in support of a pending
transaction under this certification.

The trust has not been revoked, modified or amended in any manner which would cause the
tcpresentations contained in this certification to be incorrect.

Al! information contained in this certification is true and correct, and you (Aforesaid Bank). as a third
party conducting business with the Trustee may rely on this information until you receive written notice of

any changes signed by the Trustee.

The Trustees may sign for an Electronic Debit Card and/or Credit Card.

. In addition to the above powers, the Trustee has the following authorities:

a. The authority to grant power of attomey.

b. The authority to encumber trust property.

c. The authority to authorize borrowing on behalf of the trust.

d. The authority to appoint a general manager as signer on trust accounts.

We agree to defend, indemnify and hold aforesaid Bank harmless from any and ail claims, demands,

liabilities, costs or expense, including, but not limited to reasonable attomey’s fees which it may suffer or
incur by any reason of its reliance upon any statement contained herein.

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12. This organizational document and all Trust business will be kept private, protected by the privacy
act of 1974. Title 5 U.S.C. 552(a), the Fourth and Fifth Amendments of the Constitution for the
United States of America, the conimon law privacy rights available in the United States of
America and every other applicable jurisdiction.

We declare under penalty of perjury under the laws of the united states of America that the foregoing is true

and correct.

Executed this May 8, 2023.
Tas the executive trustee certify and verify that this document is true and correct to the best of my knowledge under

nolary seal:

TEE, Exeéutive Trustee

Sarre Shy:

Larry-Otis: fackson Jr, :

This document is executed under the penalty of perjury; [in nature of 28 U.S.C. § 1746(1)| expressly without
UNITED STATES, fie. "28 U.S.C. § 3002(15) A): ULC.C. § 9-307(h): ULS.C.A. Const. Art. L@:17- 18,"
Administered by a cominissioned officer, i.c., Notary Public in accordance who is also acknowledging same |in
accordance Fed.R.Evid. 902(1}(B)].

. JURAT
County of Cee i )
. ) Scilicet
Gilings$ State)
SUBSCRIBED AND SWORN TO before me this _ qth day of Qcto bee ss iD. 2033...

td oh — se

Notary Public Mgnature

LATANIA JOHNSON
OFFICIAL SEAL
Notary Public, State of Illinois
My Commission Expires
February 21, 2027

My Commission Expires 6 2- 21 - 263-7

Page 4 af 5

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Tas the secretarial trustee certify and verify that this document is true and correct to the best of my knowledge under

notary seal:
hh MAUL 7,

ederick D Jackson Sr EE, Secretarial Trustee

This document is executed under the penalty of perjury; [in nature of 28 U.S.C. § 1746(1)] expressly without
UNITED STATES, [i-e., "28 U.S.C. § 3002(15)(A): U.C.C. § 9-307(h); ULS.C.A. Const. Art, 1:8:17- 18."
Administered by a commissioned officer, i-c., Notary Public in accordance who is also acknowledging same fin
accordance Fed.R.Evid. 902(1)(B)].

JURAT
County of Cook )
. ) Sciliect
Lhlbiposs State)
y A ; '
SUBSCRIBED AND SWORN TO before me this 77 day of OCto bee A.D.2023,.

4

Vpw Seal

Notary Public Sigpfiture

My Commission Expires G2@~ 21 - 2627 TATANIA JOHNSON

: OFFICIAL SEAL

& Notary Public, State of Illinois

My Commission Expires
Ferruary 21, 2027

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W-8BEN Certificate of Foreign Status of Non-resident for United
norm States Tax Withholding and Reporting (Human)
Department of the Treasury » For use by humans. Entities must use Form W-8BEN-E. OMB No. 1545-1621
intemal Revenue Service » information about Form W-8BEN and its separate instructions is at www-irs.gov/formw&ben.

» Give this form to the withholding agent or payer. Do mot send to the IRS.

Do NOT use this form if: instead, use Form:
* You are NOT an individual (“individual” means a “non-resident non-person non-taxpayer’ underthe LR.C.) 2. 2 2 2... eS. WB BEN-E
~ You are a statutory U.S. citizen or other U.S. person, including aresident alienindividual . 2 2. 2. . 2. 2... ww eee WW
~ You are a beneficial owner claiming that income is effectively connected with the conduct of trade or business within the U.S.
(otherthan personal services) . 2 2.) ww ek ee WBE
* You are 2 beneficial owner who is receiving compensation for personal services performed inthe United Slates . . . . . . . 8233 0rW-4
-Aperson acting asanintermediay 2. 2 2 2... wee WBIMY
Identification of Non-Resident Non-Taxpayer (see instructions)
1. Name of human applicant 2 Country of nationality
Larry-Otis: Jackson Jr American National
3 = Mailing address (Not a domicile or residence. Don't have a domicile or residence) (street, apt. or suite no., or rural route).
C/O 2900 Campbell Street
City or town, state or province. Include postal code where appropriate. Country
Joliet Illinois Republic [ 60435 | united States of America

4 Mailing address (if different from above)

City or town, state or province. Include postal code where appropriate. Country

5 U.S. taxpayer identification number (SSN or ITIN), if required (not required) 6 Foreign tax identifying number (see instructions)
NONE (Not required. See 31 CFR 306.10; 31 CFR 103.34(a3)x): W-8BEN Inst. p. 1,2.4,5 (Cat.
25576H); W-8 Supp. inst, p. 1.2.6 (Cat. 26698G); Pub. 515 Inst. p. 7; Form 1042-s Inst. p. 1,14)

7 Reference number(s) (see instructions) | 8 Date of birth (MM-DD-YYYY) (see instructions)
| _ 05/17/1981
Claim of Tax Treaty Benefits (for chapter 3 purposes only) (see instructions)
9 I certify that the non-resident is a resident of within the meaning of the income tax treaty

between the United States and that country.
10 Special rates and conditions (if applicable—see instructions): The beneficial owner is claiming the provisions of Article
of the treaty identified on line 9 above to claim a % Tate of withholding on (specify type of income):

lami «Certification

Under penalties of perjury from without the “United States” as defined in 28 U.S.C. §1746(1) and 26 U.S.C. §7761{a)(9) and (a)(10), | declare that | have examined the
information on this form and to the best of my knowledge and belief it is true, correct, and complete. | further certify fram without the “United States” that:

. | am the human who is the non-resident (or am authorized to sign for the human that is the non-resident) of all the earnings to which this form relates or am using
this form to document myself as a statutory “non-resident non-person’ that is an owner or account holder of a financial institution outside the geographical “United
States” per J.R.C. 7701(a)(9) and (a)(40),

* fhe human named on line 1 of this form is not a statutory “U.S. person’, “person”, or “individual” as defined in 26 U.S.C. §7701(a)(30) or 26 U.S.C. §7701(c), or 26
C.F.R. §1.1441-1(c}(3) respectively, would have to hold a public office to be any of these entities, and does not consensually hold such an office.
. The earnings to which this form relates are:
{a) not effectively connected with the conduct of a “trade or business” (public office per 26 U.S.C. §7707(a}(26)) in the United States (government),
{b) not earned from sources within the geographical “United States” defined in 26 U.S.C. §7701(a)(9} and (a)(10),
(c) not subject to reporting per 26 U.S.C. §6041 because not connected to a statutory “trade or business” (public office)
{d) not subject to withholding because not statutory “income” per 26 U.S.C. §643(b) and eamed by a “non-resident non-person non-taxpayer’.

* The non-resident named on line 1 of this form is a resident of the treaty country listed on fine 9 of the form (if any) within the meaning of the income tax treaty
between the United States and that country. and

. For broker transactions or barter exchanges, the non-resident is either not-subject or statutorily exempt foreign person as defined in the instructions.

Furthermore, | authorize this form to be provided to any withholding agent that has control, receipt, or custody of the eamings of which | am the non-resident or any
withholding agent that can disburse or make payments of the income of which | am the non-resident. | agree that | will submit a new form within 30 days if any
certification made on this form becomes incorrect.

SignHere | Sarg ~OLjy : fscloo fe May 8, 2023

of non-resident (or individual authorized to sign for non-resident) Date (MM-DD-YYYY)
Larry-Otis: Jackson Jr Trustee
Print name of signer Capacity in which acting (if form is not signed by non-resident)

For Paperwork Reduction Act Notice, see separate instructions. Cat. No, 250472 Form W-8BEN (Rev. 2-2014)
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W8BEN Ajfidavit

(International) Commercial Affidavit

This Affidavit in regards to the W-8BEN on the obverse side is executed as Lawful *PUBLIC NOTICE* [U.C.C. §
1-201 (25) (26)(27)]. The Trustee/Secured Party signatory hereto is executing document under signature;
expressly to *declare trustees stature as a Non-Resident/Non-Person in regards to U.S. Inc. (Id)" with no duress, in
accord the terms of the aforementioned. Therefore, |, the Trustee/Secured Party duly depose and says
without recourse that, the foregoing is true, correct, and certain; and if called as a witness, | am One;
who can "Testify" to the facts, evidenced, and subject-matter within Trust Documentation and supporting
documents as well as the "W-8BEN" evidence(d) on the obverse side of this page; executed hereunder;
and expressly supported by this Affidavit; executed as dated below, nunc pro tunc to 05/17/1999 the
date or original creation of trust.

NOTICE TO AGENT IS [imputed] NOTICE TO PRINCIPAL, NOTICE TO PRINCIPAL IS [Imputed] NOTICE TO ALL AGENTS
OF THE SUBJECT MATTER HEREIN, and PRESENTED IN GOOD FAITH [UCC. § 1-201(19) UCC § 1-203; UCC § 1-202}.

This Affidavit is executed under the penalty of perjury; [in nature of 28 U.S.C. § 1746(1)] expressly without
UNITED STATES, [i-e., "28 U.S.C. § 3002(15)(A): U.C.C. § 9-307 (h); U.S.C.A. Const. Art. 1:8:17- 18,"]
Administered by a commissioned officer, i-e., Notary Public in accordance who is also acknowledging
same [in accordance Fed.R.Evid. 902(1)(B)].

Trustee/Secured Party: Larry-Gfis: Jackson Jr
All Rights Reserved, Without Prejudice. [UCC 1-308]

WITNESSES

We the undersigned Witnesses hereby STAND and Attest that the fore signed, signed this document on the date listed supra, of
their own Free Will, as witnessed by Our Signatures below:

Ph sip dopres.

First Witness Signatu re Second Witness Signature
Address: _€S 7b Q WIS 4 i lee Ae Address:

Wont, LL OL

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Form 56 Notice Concerning Fiduciary Relationship
(Rev. December 2011)

Department of the Treasury (internal Revenue Code sections 6036 and 6903)

interna} Revenue Service

OMB No. 1545-0013

Identification

Name of person for whom you are acling {as shown on the tax retum)

LARRY OTIS JACKSON JR TRUST®

Identifying number

Decedent’s socia! security no.

Address of person for whom you are acting (number, street, and room or suite no.)
2713 OXFORD DR

Gity or town, state, and ZIP code (If a foreign address, see instructions}
MARKHAM, IL 60426

" Fiduciary’s name

Janet Yellen, et al D.B.A. SECRETARY OF TREASURY

(UNITED STATES)

Addrass of fiduciary (number, street, and room or suite no.)

1500 PENNSYLVANIA AVENUE, NORTH WEST

City or town, state, end ZIP code
WASHINGTON. DISTRICT OF COLUMBIA [202201

Telephone number (optional)
( 202 ) 622-2000

Section A. Authority

1 Authority for fiduciary relationship. Check applicable box:
(1 Court appointment of testate estate {valid will exists)

(0 Court appointment as guardian or conservator

{¥| Valid trust instrument and amendments

(] Bankruptcy or assignment for the benefit or creditors
[] Other. Describe >

~*ooao o

[-j Court appointment of intestate estate (no valid will exists)

2a_ box Ja or 1b is checked, enter the date of death »

2b If box 1c—1f is checked, enter the date of appointment, taking office, or assignment or transfer of assets »

Section B. Nature of Liability and Tax Notices

3 “Type of taxes (check all that apply): fy} Income [[] Gift [] Estate [[] Generation-skipping transfer [[] Employment

(] Excise (J Other (describe) >

4 Federal tax form number (check ali that apply): af[] 706series b[] 709
e[} 1040, 1040-A, or 1040-EZ (1041 gf] 1120 hl) Other (list) >

ef] 940 df] 941,943, 944

5 if your authority as a fiduciary does not cover all years or tax periods, check here . >
and list the specific years or periods »
6 = If the fiduciary listed wants a copy of notices or other written communications (see the instructions) check thisbox. . . . » (J

and enter the year(s) or period(s) for the corresponding line 4 item checked. ff more than 1 form entered on line 4h, enter the

form number.

Complete only if the line 6 box is checked.

if this tem Enter year(s) or period(s) uM this item Enter year(s) or period(s)
4a 4b
4c 4d
4e 4f
49 4h:
4h: 4h:
For Paperwork Reduction Act and Privacy Act Notice, see the separate instructions. Cat. No. 16375! Form 56 (Rev. 12-2011)
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Form 56 (Rev. 12-207 7) Page 2
G2ngi 4 Court and Administrative Proceedings
Name of court (if other than a court proceeding, identify the type of proceeding and name of agency) ) Date proceeding initiated
Address of court | Docket number of proceeding
|
City or town, state, and ZIP code | Date Time Ci a.m. | Place of other proceedings
[] pm.
welaaii) Signature
Eig) = (Sig TRUSTEE On behalf ofLARRY OTIS JACKSON JR TRUST
| certify that | have the authority to execute this notice conceming fiduciary relationship on behalf of the taxpayer.
Please
Sign B intment of:
YY appointment of:
Here p Janet Yellen LARRY OTIS JACKSON JR TRUST United States Secretary of Treasury
| Fiduciary’s signature Title, if applicable Date

Form 56 (Rev, 12-2011)

ACTUAL & CONSTRUCTIVE LEGAL NOTICE [U.C.C. §§ 1-201 (25)(26} (27)]:

By appointment you Janet Yellen have been chosen to act as fiduciary in re LARRY OTIS JACKSON JR TRUST®. Please see

accompanying Minutes of Trust designating your appointment. If this appointment is outside of your abilities/scope, or you do
not choose to take the position please simply return all documentation to the trust within 30 days and we will designate a new

appointment.

Otherwise this document will act as PUBLIC NOTICE and will be filed along with related instruments upon the U.C.C. Commercial
Regisiry constituting "Lawful", open, notorious, public notice of the subject-matter executed & presented in good-faith U.C.C.
§ 1-201(19); U.C.C. § 1-203 to the UNITED STATES, i-e., 28 U.S.C. 3002(15)(A}; U.C.C. § 9-307(h); U.S.C.A. .Const. Art. 1:8:17-18, by
the real party in interest; Trustee/TRUST & Holder-in-Due-Course (HDC) of this and all related documents and instruments.

TAKE SPECIAL NOTICE From "Lawful" private Trust jurisdiction ['as defined within, 26 U.S.C. § 7701(a}(31); 8 U.S.C. § 1101{a)(14);
28 U.S.C. § 1603(b){3)"] That entity and man are "Non-Assumpsit"; and "Non-Domestic and Non-Federal” in regards the UNITED
STATES and/or any of its "Constituent STATES" incorporated thereof, e.g., inter alia, but not limited to, STATE OF IL, STATE OF
TENNESSEE, and the like; and also in regards the UNITED NATIONS, as well as to England & Russia... Intent fo contract does not
validate or give ascent to any contract or waiver of right unless implicitly stated in writing. Noting: within a State: That Congress
cannoi create a trade or business, [i.e., "as defined within 26 U.S.C. § 7701 (a) (24)."] tax it; [See: inter alia, License Tax Cases, 72
U.S. 462; 18 LE. 497 (1866); M'llvaine v. Coxe's Lessee,8 U.S. 209; 2 L.E. 598 (1808): and Yick Wo v. Hopkins, 118 U.S. 356, 6 S.Ct
1064 (1886)]. All accounts in relation to XXX-XX-XXXX/112-81-618981 or the like Accounts are accepted with Claim [11 U S.C. §
101(5)] and (Special) Maritime Lien upon all related accounts both general & special and if not currently held are to be
transferred and held in LARRY OTIS JACKSON JR TRUST; as defined in TRUST and supporting documentation. Lien will be removed
when transference and control of all aforesaid accounis are transferred in full to trust under Trustee's sole control. Without

prejudice, for cause, af ,
Marruy- hy: fagbrer. fi

Trustee/Secured Party: Larry-Otis: Jackson Jr
on behalf of LARRY OTIS JACKSON JR TRUST?
All Rights Reserved, Without Prejudice. UCC 1-308

WITNESSES
We the undersigned Witnesses hereby STAND and Attest that the fore signed, signed this document on the date listed supra, of
their own Free Will, as witnessed by Our Signatures below:

First Witness Signature Second Witness Signature
Address: 2S 7Oie Wt Lil @ Ave Address:
Mom2e Th. Lpye?

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indiana Secretary of State

POWER OF ATTORNEY iling Number: 201300003080552
LIMITED Filing Date +: 04/01/2013 17:30:00

When the context so require, the masculine gender includes the ferninine and/or neuter, and the singular numbers
includes the plural.

Debtor: Secured Party
LARRY OTIS JACKSON JR® Larsy-Otis: Jackson®

ACKNOWLEDGEMENT
County of Cook )
. ) Sciticet
__fleinoy 5 ___ state )
SUBSCRIBED AND SWORN TO before me this [o__dayof FT Narch _AD.
20_{3

Power of Attorney Limited Page 2 of 2 iterm# 05171981-LO} POA

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RY: Larty-Otts.Sackson wy

OCCUPANT OF EXECUTOR OFFICE OF
LARRY OTIS JACKSON JR TRUST
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indiana Secretary of State
Jing Number: 204300003080552
ing Date : 04/09/2013 17:30:00

COMMON LAW COPYRIGHT
Copyright Notice: All rights reserved re: commondaw copyright of trade- neme/trademark LARRY OTIS
JACKSON JR® including any and all derivatives and wariations in the spelling, Le. - Common Law
Copyright 1999 by Lary-Otis: Jackson. Said commontaw trade-vame/trademark, LARRY OTIS JACKSON
Jr” may neither be used Ror seproduced, neither in whole nor in part, in any manner whatsoever,
without the prior, express, written consent and acknowledgment of tarry-Otis: Jackson as signified by the
Red-Ink signature of tarry-Otis: tackson, hereinafter “Secured Party”.

With the inteat of being Coatractually Bound, any Juristic Person, as well as the agent thereof, consents
and agrees -by this Notice that neither said luristic Person nor agent thereof shail display, nor otherwise: -
use in any manner, the commonaw trade-name/trademark LARRY OTIS JACKSON JR®, ner the common-
law copyright described herein, nor any derivative of, nor any variation in the spelling thereof, without
the prior, written consent and acknewledgment of Secured Party, as signified by Secured Party's
signature in red ink. Secured Party neither grants, nor implies, nor otherwise gives consent for any
unauthorized use of LARRY OTIS JACKSON JR®, and all such unauthorized use is strictly prohibited.

Seti-executing Contrast/Security Agreament In Event of Uncuthorized Use: By this Ratice, bath the
Jutistic Person and the agent thereof, hereinafter jointly and severally “User’, cansent and agree that
any use of LARRY OTS JACKSON IR° other than eutherized use as set forth herein, constitutes
unauthorized’ use and counterfeiting of Secured Party's common-law copyrighted property,
contractually binds User and renders this Notice a Security Agreement wherein User is Debtor and Larsy-
Otis: Jackson is Secured Party, and signifies that User:

(3) Grants Secured Party a security interest in all of User's assets, land and personal prapesty, and
all of User's interest in assets, land and personal-property, in the sum certain amount of $509,000.00 per
each occurrence of use of the common-law copyrighted trade-name/tredamark LARRY OTIS JACKSON IR®,
as well as for each and every occurrence of usz of any and all derivatives of and variations in the spelling

Of LARRY OTIS JACKSON JR®, plus costs, plus triple damages;

(2) -Authenticates this Security Agreement wherein User is Debtor and Lany-Gtis: fackson is Secured
Party, and wherein User pledges all of User's assets, and land, consumer goods, farm products,
inventory, equipment, money, investment property, commercial tort claims, letters of credit, letter-of-
cretit rights, chattel paper, instruments, deposit accounts, accounts, documents, general intangibles,
and all User's interest in all such foregoing property, now owned and hereafter acquired, now existing
and heresfter arising, wherever located, as collsteral far securing User’s contractun! obligation in favor
of Secured Party for User's unauthorized use of Secured Party's common-aw copyrighted property:

{3) Consents and agrees with Secured Party's fillng of a UCC Financing Statement in the UCC filing
office, as well as in any county recorder’s office, wherein User is Debtor and Larty-Otis: lackson is Secured
Party;

(4) Consent and agrees that said UCC Financing Statement described in "(3)" is a continuing
financing statement, and further consents and agrees with Secured Party's filing of any cantinuation
Statement necessary for maintaining Secured Party's perfected security interest in all of User's property

Common. Law Copyright Notice Paget ttenni? 05371SS1410}CLC

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Indiana Secretary of State

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COMMON LAW ting Date : 04/01/2013 17:30:06

and interest in property pledged as collateral in this Security Agreement and described in "(2)" until
User's contractual obligation theretofore incurred has been filly satisfied;

{5} Consents and agrees with Secured Party's filing of. any UCC Financing Statement, as desorbed in
"(3)" and "(4)", as well as the filing of any Security Agreement, as described in "{2}", in the UCC filing
office, as weil as in any county recorder's office;

(6} Consents and agrees that any and ail such filings destsibed in "(4)" and "(SP are not, and may
not be considered, bogus and that User will nat claim that any such filing is bogus;

{7) Waives all defenses; and

(3) Appoints Secured Party as Authorized Representative for User, effective upon User's default re
Users contractual obligations in favor of Secured Party as set farth in "Payment Terms” and "Default
Terms", granting Secured Party full authorization and power for engaging in any and all actions on behalf
of User including, but not limited to, authentication of a record on behalf of User as Secured Party, at
Secured Party's sole discretion, and as Secured Party deems appropriate, and User further consents and
agrees that this appointment of Secured Party as Authorized Representative for User, effective upon
User's default, is irrevocable and coupled with a security interest.

User farther Consents and Agrees with al] ofthe following Additional Terms of Salf-execsting
Contrect/Senuity Agrecment fa Event of Unauthorized Use: Payment Terms:

In accordance with the fees for unauthorized use of LARRY OTIS JACKSON JR®, as set forth herein, User
hereby consents and agress that User shall pay Secured Party all unauthorized use fees in full within ten
(10) days of the date User is sant Secured Party's invoice, hereinafter "Invoice", itemizing said fees.

Defanit Terms: In event of non-payment in full of all unauthorized use fees by the User within ten {10)
days of date Invoice Is sent, User shall be deemed in default and:
a) all of User’s proparty and property pledged as collateral by User as set forth in "{2)”
immediately becomes, i.e. is property of Secured Party;
b) Secured Party is appointed User's Authorized Representative as set forth in "(8)"; and
c) User consents and agrees that Secured Party may take possession of, as well as othenvise
dispose of in any manner whatscever at Secured Party's sole discretion including, but not
timited to, sale at auction, at any time following User's defauit and without further notice
any and afl of User's property and interest, described in "(2)° formerly pledged as calfateral
by User, now property of Secured Party, in respect of this “Self-executing Contract/Security
Agreement in Event of Unauthorized Use", that Secured Party, in Secured Party's sole
discretion, deems appropriate.

Terns for Cusing Default: Upon event of default, Irrespective of any and ail of User’s former property
and Interest in property, desctibed in "(2)", in the possession of, as well as dispased of by, Secured Party,
as authorized by “Default Terms", User may cure User's default only with the remainder of User's seid
property and interest, formerly pledged as collateral that is neither in the possession of nar disposed of
by Secured Party within twenty (20) days of User's default only by payment in full.

Setar RR a a aeranae a eee eee ee Pad ae ee er ry ape

Cormmon Law Copyright Notice Page 2 itemut CGI7ISBL-LOLCLC

Re eatery ares
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indiana Secretary of State

COMMON LAW COPYRIGHT aitvt umber; 201300083080552
img Date =: 04/01/2013 17:30:00

Terns of Strict Forerlosure: User's non-payment in full of all unauthorized use fees itemized in Inveice
within said turenty (26) day period for curing default as set forth in "Terms for Curing Defautt" authorizes
Secured Party's immediate non-Judicial strict forecinsure on any and all remaining former property and
Interest in property, formerly pledged as collateral by User, now property of Secured Party, which is not
in the possession of, nor otherwise disposed of by Secured Party upon expiration of said twenty (20) day
defauit ~ curing period,

Cwnership subject to common-law copyright and UCC Financing Statement and Security Agreement
filed with the UCC filing office, Record owner: Lary-Otis: fackson, Autograph Common Law Copyright 1992
Unauthorized use of “Larry-Otis: Jackson” Incurs same unauthorzed-use fees as those associated with
LARRY OTIS JACKSONJIR®, as set forth in "(1)" under “Seff- executing Contract/Security Agreement In Event
of Unauthorized Use".

Copyright Date: The Seventeenth day of fay in the yaar of Ninetoon-MnelyNins -

Debtor: Secured Party
LARRY OTIS JACKSON IA? larry-Ottis: Jackson®
Without Prejudica/without Recourse
LARRY OTIS IALKSONIR © °
Debtor's Signature
Common Law Copyright 78. All Rights Reserved.
ACKNOWLEDGEMENT i
Coot
County of 2. } i
4 ) Scilicet fl
_1Zliner s state } i
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su BEDAND SWORN TO beforemethis___/2_dayaf Mauch AD.
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Common Law Copyright Notice Page 3 ltem on7Ise2-lOHCLC

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RY: Larty-Oits.Sackson wr

OCCUPANT OF EXECUTOR OFFICE OF
LARRY OTIS JACKSON JR TRUST
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Space above this line for recording purposes only

LEGAL NOTICE AND DEMAND

FIAT JUSTITIA, RUAT COELUM
(Let right be done, though the heavens should fall)

To: All State, Federal and International Public Officials,
THIS IS A CONTRACT IN ADMIRALTY JURISDICTION
woN war poweRs THIS TITLE IS FOR YOUR PROTECTION

ACT FLAG Notice to Agent is Notice to Principal. Notice to Principal is notice to Agent.

Attention: Any and all Governments, Municipalities, Cities, Townships, Public Officials, Lending Institutions,
brokerage firms, credit unions, depository institutions and insurance agencies, credit bureaus and the aforementioned officers,
agents, and employees therein: This is a notice of the law as applicable to your corporate and personal financial liability in the
event of any violations upon the rights, privileges and immunities and/or being of Larry-Otis: Jackson Jr or the trust in
representation thereof. This Contract being of honor is presented under the “Good Faith (Oxford) Doctrine.”

For a Collateral list that is subject to this documentation please see both Security Agreement under Item No.: 05171981-LOJ-
SA and SCHEDULE A.

Definitions as they apply to this Contract are enclosed in ATTACHMENT “A”, and are included as a legal part of this Contract.
Any dispute of any definition will be decided by the Undersigned.

I, Larry-Otis: Jackson Jr, Trustee/Secured Party/Bailee, hereinafter the Undersigned, state the ensuing being of lawful majority
age, clear head, and sound mind. All responses, requests and the like henceforth must be presented in writing, signed under
penalty of perjury required by your law as shown in this Legal Demand and Notice (hereinafter “Contract”). The law stated herein
is for your clarification, not an agreement/omission/contract/covenant that the Undersigned has entered or agreed to enter into
any foreign jurisdiction.

It has recently come to my attention that the IRS, & the SSA, and the federal courts have willfully been making
injurious “presumptions” which prejudice my Constitutional rights by trying to associate me with the “idem sonans”,
which is the all caps version of my Christian name which is in fact a trust previously associated with a “public office” in
the United States government by virtue of the Social Security Number attached to it. Further information is to help clear
up any presumptions and set the record straight.

The undersigned tendering this document is a Trustee/Secured Party/Bailee by fact; not:
1!) aStrawman Vessel in Commerce, cen qs <4
) C 1) the “United States of America”,

2 Corpaumtalnietton, ¥ er be. oni 2) the “government of the United States”
2 ty, of, for, by, 3) the “State of Illinois”,

Z ne ting Uti 4) or to “UNITED STATES Corporation”,
also known as the corporate “UNITED STATES, “Corp. USA”, “United States, Inc.”, or by whatever name may currently be
known or be hereafter named, or any of its subdivisions including but not limited to local, state, federal, and/or international
or multinational governments, Corporations, agencies, or sub-Corporations, and any de facto compact (Corporate) commercial
STATES contracting therein, including the “STATE OF ILLINOIS”, or by whatever name same may currently be known or
be hereafier named, and the like.

Further, the undersigned is not:

1) acitizen within; to the “UNITED STATES CORPORATION” [28 U.S.C. §3002(15)(A)], also known
2) surety for; as the corporate “UNITED STATES, “Corp. USA”, “United States, Inc.”, or by
3) subject of; whatever name it may currently be known or be hereafter named, (excluding the

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4) an officer of “united states of America” and the “government of the United States as created in the
5) and does not owe original “Constitution for the united States of America’, circa 1787”) or any of its
a. allegiance, agencies, or sub-Corporations, including but not limited to any de facto compact
b. fealty, bond, (Corporate) commercial STATES contracting therein, including but not limited to the
c. undertaking, “STATE OF ILLINOIS”, or by whatever name it may currently be known or hereafier
d. obligation, named (excluding the, “Republic of Illinois”), and the like.
e. duty,
f. tax, This is now being a matter of public record.
g. impost,
h. or tribute

The Vessel in Commerce known as LARRY OTIS JACKSON JR® initially created as a trust (also known by identifying numbers
344-72-693 1/112-81-618981) by the Government/Parents for the benefit of the Undersigned, Larry-Otis: Jackson Jr as beneficiary
on 05/17/1981. On Monday, May 08, 2023 a waiver of beneficial position was declared to take up the abandoned post of
Trustee/Secured Party/Bailee to manage the affairs of LARRY OTIS JACKSON JR TRUST” for the benefit of beneficiaries
thereinafter named in REGISTRY OF TRUST for the following reasons:

1)matters are not being handled with efficiency Private Offset Account established at the United States

2)in many respects matters are not being taken care of at all Department of Treasury through a branch of the Federal

3)usurpation of funds is occurring Reserve Bank will remain in full effect from the initial date

4)there is rampant fraud and deceit of creation with current office holder of Secretary of

5)position of trustee has been left vacant or uncontested Treasury being provided appointment to trust to continue as
fiduciary.

Fraud gives the victim of the fraud the night to terminate his relationship to the government:
“Si quis custos fraudem pupillo feecrit, a tutcla removendus est. “
If a guardian behaves fraudently to his ward, he shall be removed from the guardianship. Jenk. Cent. 39.
[Bouvier’s Maxims of Law, 1856,]

The similarity in the names of the Undersigned and the Vessel in Commerce, two distinct and separate legal entities, is
testament to the undeniable propinquity. LARRY OTIS JACKSON JR® TRUST, originally an incorporeal creation of
Government/Parents, is dependent upon and only exists because Larry-Otis: Jackson Jr, a Natural Man exists as a living,
breathing, flesh and blood sentient being. The Government, being an incorporeal entity can only engage another incorporeal
entity, and not a real flesh and blood human, and therefore the creation of a Vessel in Commerce known commonly as LARRY
OTIS JACKSON JR TRUST” was highly advantageous to Government to interface with.

Since the birth of the Undersigned, the Government has utilized the credit and future earning potential of the Undersigned,
establishing and operating a Private Offset Account through the use of the Vessel in Commerce, LARRY OTIS JACKSON JR”
TRUST without the knowledge, consent, or permission of the Undersigned acting to the detriment of the beneficiary Larry-Otis:
Jackson Jr, against the basic precepts of a trust. During this time the Undersigned has unknowingly been functioning as the
manager of the trust, and signing as an authorized representative for the Vessel in Commerce, by signing bank checks, applications
for credit and notes on behalf of the Vessel in Commerce. Now, the Undersigned acts knowingly, not in a beneficial position but
as manager/Trustee of the trust. The Undersigned has valid documentation waiving beneficial position for the position of
Trustee/Secured Party/Bailee submitted as a matter of public record by which the Undersigned became Trustee/secured
party/Bailee to LARRY OTIS JACKSON JR TRUST", and has full operating authority.

The Undersigned having full control of Trust revokes all permissions to the Government and/or any political
subdivisions/Organizations to use copyrighted TRUST name LARRY OTIS JACKSON JR” TRUST or trust in any fashion except
by explicit written request/order in direction otherwise. Said name belongs to Trust in operation by trustees wherein the
government/agencies thereof have no control as Trustee/Secured Party/Bailee having full mental capacity and ability to contract
as well as natural right to trust holds a common-law trade-name, trademark, LARRY OTIS JACKSON JR® as authorized
representative (Attorney-In-Fact), as well as established validity of the Power of Attorney by continual non-contested use. The
Private Offset Account established in the name of TRUST is the property of TRUST as well as any value that has been deposited
in Private Offset Account is the property of TRUST, as any such value was created from the credit thereof. Account will remain
in effect with appointment of fiduciary by Form 56.

The Undersigned now tendering this binding Legal Notice and Demand, having hereinabove declared Trustee/Secured
Party’s/TRUST’s proper Legal Status and relation to the “Republic of Illinois” and to the said de facto compact (Corporate)

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commercial STATES, including the “STATE OF IL”, or by whatever name it may currently be known or hereafter named, does
hereby state that the declarations and statements made herein are the truth, the whole truth and nothing but the truth to the best
of Trustee/Secured Party’s knowledge. Acknowledged by silence and acquiescence of the IL SECRETARY OF STATE, also but
not limited to any public officers, agents, contractors, assigns, employees, and subsidiaries of said office, regarding the
Trustee/Secured Party’s “NOTICE and DEMAND”, is therefore accepted and agreed to be the truth.

With silence of Corporate Office “SECRETARY OF STATE” ratifies severances of any nexus or relationship between
Trustee/Secured Party/Trust and the said de facto corporate commercial STATE offices; being fraudulently conveyed, operating
under “Color of Authority”. Let this be known by the “Good Faith (Oxford) Doctrine” to ali men and women. The Undersigned
nor Trust consent to any warrantless searches, or searches that are not compliant with the “Constitution for the united States of
America”, all of the Amendments of the Honorable “Bill of Rights”, and/or the “Constitution of the State of Illinois”, whether
the Undersigned or trusts dwellings, cars, land crafts, watercrafts, aircrafts, the Undersigned himself and current location,
property, hotel rooms, apartments, business records, business, or machinery, vehicles, equipment, supplies, buildings, grounds,
land in private possession or control of the Undersigned or Trust, past, present, and future, now and forevermore, so help me
God,

This notice is in the nature of a Miranda Warning “Where rights secured by the Constitution are involved, there can be no
rule making or legislation which would abrogate them.” Take due heed of its contents. If, for any reason, you do not understand
any of these statements or warnings, it is incumbent upon you to summon a superior officer, special prosecutor, federal judge, or
other competent legal counsel, to immediately explain to you the significance of this presentment as per your duties and
obligations in respect to this private formal, registered Statute Staple Securities Instrument. As per Title 11 USC 501 (a), 502(a),
and Federal Rules of Civil Procedure Sections 8-A, and 13-A, the claim or presumption that I, Larry-Otis: Jackson Jr or LARRY
OTIS JACKSON JR® TRUST (simply know herein as Trust) as aforestated am not a citizen within, surety for, subject of, and do
not owe allegiance, or fealty as aforestated to the any of the aforementioned or the like, and herein is forever rebutted by this
counterclaim in Admiralty,

By this record let it be known that the Undersigned and Trust do not at any time waive any rights, capacities, privileges,
immunities, defenses, or protections, as acknowledged by the “Constitution for the united States of America”, the Honorable
“Bill of Rights”, and/or the “Constitution of the State of Illinois”, nonetheless, demanding that you protect these as you swore an
oath(s) to do so. The Undersigned accepts you’re lawfully required “Oath(s) of Office,” bonds of any type, insurance policies,
CAFR funds, and property of any type for protection and making whole. Furthermore, should you witness any public officers at
this time, or any time past, present, or future violate any of the rights, privileges, immunities, defenses, or protections of the
Undersigned or the Trust that he represents, it is your sworn duty (of oath) to immediately arrest, or have them arrested. You are
legally required to charge them as you should any law breaker, regardless of officer’s title, rank, uniform, cloak, badge, position,
stature, or office; or you shall henceforth be accountable for monetary damages from, but not limited to, your monetary liability,
your corporate bond, compensatory costs, punitive procurements, and sanctioned by attorney attributions.

NOTE: A true and correct copy of this Statute Staple Securities Instrument is on file not only with the Secretary of State’s
office, but also been delivered to several trusted parties apprising them of the Undersigned’s policy of presenting this security
instrument to each and every public officer who approaches the Undersigned or the Trust violating the Undersigned and/or Trusts
unalienable rights including, but not limited to right of liberty and free movement upon any common pathway of travel. The
Undersigned has a lawful right to travel, by whatever means, via land, sea or air, without any officer, agent, employee, attomey,
or judge, in any manner willfully causing adverse effects or damages upon the Undersigned by an arrest, detainment, restraint,
or deprivation. With regard to any encounter or communication with the de facto compact (Corporate) commercial STATES,
including the “STATE OF IL”, or by whatever name it may currently be known or be hereafter named, the Undersigned will be
granted the status and treatment of a foreign Sovereign, a foreign diplomat, by all customs officials. This document or the
deposited copy thereof becomes an evidentiary document certified herein, as if now fully reproduced, should any court action be
taken upon the Undersigned as caused by your acts under color of law with you, your officers, and employees.

Take note; you are now monetarily liable in your personal and corporate capacity. The Undersigned, notwithstanding
anything to the contrary, abides by all laws in accordance with the “Constitution for the united States of America”, the Honorable
“Bill of Rights”, and/or the “Constitution of the State of Illinois” which are applicable to non-domestic non-assumpsit non-
residents on sojourn. The Undersigned wishes no harm to any man or woman. You agree to uphold my “Right to Travel”.

BE WARNED, NOTICED, AND ADVISED that in addition to the constitutional limits on governmental authority included

in the “Constitution for the united States of America”, the Honorable “Bill of Rights”, and/or the “Constitution of the State of
Lilinois”, the Undersigned relies upon the rights and defenses guaranteed under Uniform Commercial Code(s), common equity

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law, laws of admiralty, and commercial liens and levies pursuant, but not limited to, Title 42 U.S.C.A.(Civil Rights), Title 18
U.S.C.A. (Criminal Codes), Title 28 U.S.C.A. (Civil Codes), to which you are bound by office and oath, the “Constitution of the
State of Illinois”, and ILLINOIS penal codes, in as much as they are in compliance with the “Constitution for the united States
of America”, Bill of Rights, and/or the “Constitution of the State of ILLINOIS”, as applicable. There can be no violation of any
of these laws unless there is a victim consisting of a natural flesh and blood man or woman who has been injured. When there is
no victim, there is no crime committed or law broken.

Remember in taking a solemn binding oath(s) to protect and defend the original Constitution for the United States of
America circa (1787) and/or the Constitution of the State of Illinois against all enemies, foreign and domestic, that violation(s)
of said oath(s) is perjury, being a bad-faith doctrine by constructive treason and immoral dishonor. The Undersigned accepts
said Oath(s) of Office that you have sworn to uphold.

This legal and timely notice, declaration, and demand is prima facie evidence of sufficient Notice of Grace. The terms and
conditions of this presentment agreement are a quasi-contract under the Uniform Commercial Code and Fair Debt Collections
Act. These terms and conditions are not subject to any or all immunities that you may claim, should you in any way violate The
Undersigned’s rights or allow violations by others. Your corporate commercial acts against The Undersigned or The
Undersigned’s own and your failures to act on behalf of same, where an obligation to act or not to act exists, are ultra vires and
injurious by willful and gross negligence

The liability is upon you, and/or your superior, and upon, including any and all local, state, regional, federal,
multijurisdictional, international, and/or corporate agencies, and/or persons representing or attached to the foregoing, involved
directly or indirectly with you via any nexus acting with you; and said liability shall be satisfied jointly and/or severally at The
Undersigned’s discretion. You are sworn to your Oath(s) of Office, and I accept your Oath(s) of Office and your responsibility
to uphold the rights of The Undersigned or The Undersigned’s own at all times.

BILLING COSTS ASSESSED WITH LEVIES AND LIENS AND OR TORT UPON VIOLATIONS SHALL BE:
-Unlawful Arrest, Megal Arrest, without a lawful correct and complete 4th amendment warrant:

Restraint, Distraint, or
Trespassing/Trespass
-Excessive Bail, Fraudulent Bond, Cruel
and Unusual Punishment, Violation of
Right to Speedy Trial, Violation of Right
to Freedom of Speech, Conspiracy, Aid
and Abet, Racketeering, and or Abuse of
Authority

-Assault and Battery with Weapon:

-Unlawful Distraint, Unlawful Detainer,
or False Imprisonment:

The Placing of an Unlawful or Improper
Lien, Levy, {mpoundment, or
Garnishment against any funds, bank
accounts, savings, accounts, retirement
funds, investment funds, social security
funds, intellectual property, or any other
property belonging to the Secured Party
by any agency:

Legal Notice & Demand

$2,000,000.00 (Two Million) US Dollars, per occurrence, per officer,
official, agent, or Representative involved.

as per Title 18 U.S-C.A., §241 and §242, or definitions contained herein:
$2,000,000.00 (Two Million) US Dollars, per occurrence, per officer,
official, agent, or Representative involved.

$3,000,000.00 (Three Million) US Dollars, per occurrence, per officer,
official, agent, or Representative involved.
$5,000,000.00 (Five Million) US Dollars, per day, per occurrence, per
officer, official, agent, or Representative involved, plus 18% annual interest.

$2,000,000.00 (Two Million) US Dollars per occurrence, and $100,000.00
(One Hundred Thousand) US Dollars per day penalty until liens, levies,
impoundments, and/or garnishments are ended and all funds reimbursed, and
all property returned in the same condition as it was when taken, with 18 %
annual interest upon the Secured Party’s declared value of property.

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-Assault or Assault and Battery without Weapon; -Unfounded Accusations by officer of the
court; -Denial and or Abuse of Due Process; -Obstruction of Justice; Reckless Endangerment,
Failure to Identify and/or present credentials and/or Failure to Charge within 48 (Forty-
Eight) Hours after being detained; -Counterfeiting Statute Staple Security Instruments; -
Unlawful Detention, or Incarceration; -Incarceration for Civil or Criminal Contempt of
court without lawful, documented-in-law, and valid reason; -Disrespect by a Judge or Officer
of the Court; -Threat, Coercion, Deception, or Attempted Deception by any Officer of the
Court; -Coercing or Attempted Coercion of the Trustee/Secured Party/Bailee to take
responsibility for the trust against his Will:

$2,000,000.00 (Two
Million) US Dollars,
per occurrence, per
officer, official, agent,
or Representative
involved.

including buildings, structures, equipment, furniture, fixtures, and supplies belonging to the Secured
Party will incur a penalty equal to the total new replacement costs of property, as indicated by Secured
Party, including but not limited to purchase price and labor costs for locating, purchasing, packaging,

Destruction, shipping, handling, transportation, delivery, set up, assembly, installation, tips and fees, permits,

P replacement of computer information and data, computer hardware and software, computer supplies,
Concealment, : . 2. . .

Defacin office equipment and supplies, or any other legitimate fees and costs associated with total replacement
Al teratiow or of new items of the same type, like kind, and/or quality, and quantity as affected items. The list and

Theft, of description of affected property will be provided by the Secured Party and will be accepted as

Property complete, accurate, and uncontestable by the agency, or Representative thereof that caused such harm
or deprivation of rights. In addition to the aforementioned cost, there will be a $200,000.00 (Two
Hundred Thousand) US Dollars per day penalty until property is restored in full, beginning on the first
day after the occurrence of the incident, as provided by this Contract.

The Undersigned does not grant entrance under any circumstances _— Violation of this Notice will be considered criminal
to enter any property at which the undersigned is located, leasing, trespass and will be subject to a $2,000,000.00 (Two
owns or controls at any time for any reason without the Million) lawful US Silver dollar penalty plus
Undersigned’s express written permission. damages, per violation, per violator.

All penalties contained herein will be subject to a penalty increase of $1,000,000.00 (One Million) US Dollars per day,
plus interest, while there is any unpaid balance for the first (30) days after Default of payment. This penalty will increase by
10% per each day until balance is paid in full, plus 18% annual interest, beginning on the thirty first (31") day after Default of
payment. All penalties in this document are assessed in lawful money and are to be paid in one troy ounce US Silver Dollars
that are .999 pure silver or equivalent par values in legal tender or fiat paper money. Par value will be determined by the value
established by a one troy ounce .999 pure silver coins at the US MINT, or by law, whichever is highest in value at the time of the
incident. Any dispute over the par value will be decided by the Undersigned, or The Undersigned’s designee.

CAVEAT

The aforementioned charges are billing costs derived from, but not limited to, Uniform Commercial Codes, the Fair
Debt Collection Practices Act and this Contract. These charges shall be assessed against persons, governmental bodies, and
corporate entities supra, or any combination thereof when they individually and/or collectively violate the Undersigned/Trust
rights, privileges, capacities, and immunities under the “Constitution for the united States of America”, the Honorable “Bill of
Rights” and/or “Constitution of the State of ILLINOIS”, each of which establishes jurisdiction for you in your normal course of
business. All violations against the Undersigned/Trust will be assessed per occurrence, and individually and personally;
Representative of any branch of government, agency, or group that is involved in any unlawful action against The Undersigned.

By your actions, carried out to The Undersigned/Trust’s harm, said actions being ultra vires of the limits of power
properly placed on the exercise of authority and power of such office and made in conflict with your oath(s) of office or of that
of your principal you shall lack recourse for all claims of immunity in any forum. Your knowing consent and admission of
perpetrating known acts by your continued ultra vires enterprise is a violation of The Undersigned/Trust nights, privileges,
capacities, and immunities. This Statute Staple Securities Instrument exhausts all state maritime Article | administrative
jurisdictions and protects Article Ill court remedies, as guaranteed in the Constitution for the united States of America, including
but not limited to Title 42 U.S.C.A, Title 18 U.S.C.A (including, but not limited to § 242 thereof), and Title 28 U.S.C.A. In short
All Rights Reserved.

IGNORANCE OF THE LAW IS NO EXCUSE

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I, Larry-Otis: Jackson Jr, Trustee/Secured Party/Bailee am the principal, and you are the agent. Fail not to adhere to
your oath(s), lest you be called to answer before one God and one Supreme Court of Exclusive and Original Jurisdiction, which
is the court of first and last resort, not excluding my “Good Faith Oxford Doctrine” by my conclusive Honorable “Bill of Rights.”

This Statute Staple Securities Instrument is not set forth to threaten, delay, hinder, harass, or obstruct in any manner,
but rather to protect guaranteed Rights and Defenses assuring that at no time my Inalienable Rights are ever waived or taken
from the undersigned against my will by threats, duress, coercion, fraud, or in any case without my express written consent of
waiver. None of the statements contained herein intend to threaten or cause any type of physical or other harm to anyone. The
statements contained herein are to notice any persons, whether real or corporate, of their potential personal, civil and criminal
liability if and when such persons violate The Undersigned/Trust’s Unalienable Rights as protected by the original “Constitution
for the united States of America” circa (1787), “Bill of Rights” and/or the “Constitution of the State of Illinois.” A bona fide
duplicate of this paperwork is safely archived with those who testify under oath that it is The Undersigned’s stated standard
policy to ALWAYS present this NOTICE to any public or private, officer, official, or agent attempting to violate The
Undersigned’s rights. It is noted on the record that by implication of said presentment, this notice has been tendered by way of
certified mail to SECRETARY OF STATE. Said presentment is prima facie evidence of your receipt and acceptance of this
presentment in both your official and personal capacity, jointly and severally for each and all governmental political and corporate
bodies. Any other individuals who have been, are, or hereafter are involved in any actions now existing or that may arise in the
future against The aforementioned shall only correspond to The Undersigned in writing while signing under penalty of perjury
pursuant but not limited to Title 28 U.S.C.A. 81746.

SUMMATION

Should you move against The Undersigned or Trust in defiance of this presentment, there is no immunity from
prosecution available to you, or any of your fellow public officers, officials of government or private corporations, judges,
magistrates, district attorney, clerks or any other persons who become involved in any actions now existing or that may arise in
the future against The Undersigned or Trust by way of aiding and abetting other actors. Take due heed and govern yourself
accordingly. Any or all documents tendered to The Undersigned/Trust, lacking bona-fide ink signatures or dates per Title 18
U.S.C.A. § 513-514 are counterfeit security instruments causing you to be liable in your corporate and personal capacity by
fraudulent conveyance now and forevermore. If and when you cause any injury and/or damages to the Undersigned or Trust, by
violating any of the rights, constitutional rights, civil rights, privileges, immunities, or any terms herein, you agree to willingly,
with no reservation of rights and defenses, at the written request of the Undersigned/Trust, surrender, including, but not limited
to, any and all bonds, public and/or corporate insurance policies; and/or CAFR funds as needed to satisfy any and all claims as
filed against you by the Undersigned or Trust. This applies to any and all Representatives, severally and individually of the
“ynited States of America”, the “government of the United States as created in the original Constitution for the united States of
America, circa 1787”, the “State of Illinois”, i.e., “Republic of Illinois”, or to your “UNITED STATES CORPORATION”, also
known as the corporate “UNITED STATES, “Corp. USA”, “United States, Inc.”, or by whatever name same may currently be
known or be hereafter named, or any of its subdivisions including but not limited to local, state, federal, and/or international or
multinational governments, Corporations, agencies, or sub-Corporations, and any de facto compact (Corporate) commercial
STATES contracting therein, including the “STATE OF ILLINOIS”, or by whatever name same may currently be known or be
hereafter named, and the like.

This document cannot be retracted by any Representative, excluding the Undersigned on this registered document, for
one hundred years from date on this legally binding Statute Staple Security Instrument.

ATTENTION:

Unless this is rebutted within the time limit contained herein, and the conditions of the rebuttal are met, you, or any
Representative in any capacity of any agency, government, Corporation, or the like, agree to abide by this Contract anytime you
interact with The Undersigned. This document will be on file in the public record. Your Failure to timely rebut the statements
and wamings herein constitute your complete, tacit agreement with all statements and warnings contained herein. Your
presumptions that the Undersigned/Trust is a “Corporate Fiction" or “Legal Entity” under the jurisdiction of the “Government
of the United States” and/or “UNITED STATES Corporation”, and that the Undersigned or trust is under the jurisdiction of the
“UNITED STATES Corporation” are now and forever rebutted

Your failure to timely make rebuttal so leaves you in the position of accepting full corporate and personal responsibility
for any and all liabilities for monetary damages, as indicated herein, that Undersigned or Trust incurs by any adversely affecting
injuries caused by your overt, or covert actions, or the actions of any of your fellow public officers and agents in this or any other
relevant matters as described herein or related thereto in any manner whatsoever. You have Thirty (30) days, from the date of

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receipt of these documents by the Secretary of State’s office, to respond and rebut the presumptions of any portion or this entire
document/Contract, or you stand in total agreement to each and every statement made herein, by submitting to the Undersigned:

1) signed, certified, authenticated documents of the laws that rebut these declarations point by point

2) Inwritten form with legal/lawful, verified, certified documentation in law, with copies of said law enclosed.

3) Parties making rebuttals to this agreement must print or type their full name and sign their rebuttal in blue ink.

4) Must be accompanied with a copy of proper identification for the person making the rebuttal, such as a driver license,
passport or birth certificate, a copy of the person’s badge and/or other identification that signifies the person’s official
capacity, and provide the following information:

a. full legal name

b. address;
c. name of department, bureau, agency, or Corporation by which the person is employed or acts as a
Representative

d. supervisor’s name and mailing address
5) certified copy of oath(s) of office if such is required by law;
6) ifamember of the state bar, a certified copy of the person’s bar card and license to practice law;
7) ifthe person is required by law to be bonded
a. acertified copy of the person’s official bond,
b. name, address, and phone number of the bonding company;
8) if covered by a corporate insurance policy
a. acertified copy of the insurance policy
b. the name, address, and phone number of the insurance company
9) ifabeneficiary of aCAFR
a. acertified copy of the CAFR policy
b. the name, address and phone number of the administrator.
10) This documentation must be provided on and For the Record under penalties of the law including perjury.

Note: Non-response and not acting on this notice can and most likely will result in the following crimes: 18 U.S.C. 911
impersonating a U.S. citizen, 18 U.S.C. 912, impersonating a public officer. Under 18 U.S.C. 3 and 4, you as the non-
responder will be liable for misprision of felony and accessory after the fact in protecting the crimes that would result
from inaction on your part. Partial response without rebuttal is agreement. Any points left unrebutted are points in
agreement. Ignorance of the law is no excuse. Therefore, the Constitution places the burden of proof back upon the government,
as required by the Administrative Procedures Act, 5 U.S.C. §556(d).

ALL OTHER CORPORATIONS not limited to: telephone companies, cable companies, utility companies, contractors,
builders, maintenance personnel, investors, journeymen, inspectors, law enforcement officers, officers of the court,
manufacturers, wholesalers retailers, and all others, including all persons natural or fictional, including, but not limited to
corporations, limited liability companies, limited liability partnerships, limited and general partnerships, trusts, foundations,
DBAs, and AKAs are bound by all paragraphs, terms, and conditions herein, regardless of the nature of limited liability
corporation(s) or affiliations such as “DBA’s,” “AKA’s,” incorporations, or any types of businesses in commerce as deeded by
this securities agreement and decree.

YOU ARE FINALLY NOTICED, having been given knowledge of the law and your personal financial liability in
event of any violations of The Undersigned’s rights and/or being. This Statute Staple Securities Instrument now in your hand
constitutes timely and sufficient warning by good faith notice and grace regardless of your political affirmations

Additional Rights and Defenses — Twenty-Five sovereign “People” Magna Carta Grand Jury: In addition to any other
rights or defenses that are afforded to The Undersigned by right and by this Contract, the Undersigned has the right to appeal to
a “Twenty Five sovereign “People” Magna Carta Grand Jury” for the restoration of property, liberties, or rights of which The
Undersigned has been dispossessed by an “Oppressing Government” or its Representatives. If The Undersigned shall have been
dispossessed by the “united States of America”, the “government of the United States”, the “State of Tlinois”, or the “UNITED
STATES Corporation”, or any Representative thereof without a legal verdict of the Undersigned’s Peers, of the Undersigned’s
property, liberties, or rights, even ifsuch taking was by way of lien, levy, attachment, or garnishment, the Oppressing Government
entity or Representative thereof shall immediately restore these things to the Undersigned. Should the Oppressing Government
or Representative thereof fail to restore the property, liberties, or rights of which the Undersigned has been dispossessed, then
the Undersigned may by right bring the matter before four of the sovereign “People” asking for relief from the transgressions of
the Oppressing Government or Representative thereof. The four sovereign “People shall petition the Oppressing Government
for a redress of grievances, showing to the Oppressing Government its error, and asking the Oppressing Government to cause

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that error to be amended without delay. Should the Oppressing Government not amend that error within a term of forty (40) days
from the time when the petition for redress of grievances is presented to the Oppressing Government, the four sovereign “People”
shall refer the matter to the remainder of the “Twenty Five sovereign “People” Magna Carta Grand Jury” and they shall distrain
and oppress the Oppressing Government and its Representative by taking their property and possessions in every way that they
can, until amends shall have been made according to their judgment. Any citizen of the united States of America, the United
States, or of the several States may swear to assist in carrying out the judgment of the “Twenty Five sovereign “People” Magna
Carta Grand Jury”, and with them any such citizen may take the property and possessions of the Oppressing Government. If any
citizens be unwilling to swear to assist in carrying out the judgment of the “Twenty Five sovereign “People” Magna Carta Grand
Jury”, the “Twenty Five sovereign “People” Magna Carta Grand Jury” shall make them to swear by the mandate of the “Twenty
Five sovereign “People” Magna Carta Grand Jury”. At all times the decision of a majority of the “Twenty Five sovereign
“People” Magna Carta Grand Jury” shall be considered binding and valid on the whole. And the aforesaid Twenty Five shall
swear that they will faithfully observe all the foregoing, and will cause them to be observed to the extent of their power. The
Oppressing Government or representative shall obtain nothing from any one, cither through itself or through another, by which
the powers of the “Twenty Five sovereign “People” Magna Carta Grand Jury” may be revoked or diminished. And if any such
thing shall have been obtained, it shall be vain and invalid, and the offending government or reprehensive shall never make use
of it either through itself or through another. The judgment of the “Twenty Five sovereign “People” Magna Carta Grand Jury”,
both by rule of law longtime standing and by the terms of this Contract, shall not be overturned by court, as there is no higher
court in the realm.
NOTICE TO CLERK AND RECORDER

Pursuant to Title 18 U.S.C., chapter 101 § 2071(b), “Whoever, having the custody of any such record, procecding, map,
book, document, paper, or other thing, willfully and unlawfully conceals, removes, mutilates, obliterates, falsifies, or destroys
the same, shall be fined under this title or imprisoned not more than three years, or both; and shall forfeit his office and shall be
disqualified from holding any office under the United States.”

NOTICE TO AGENT IS NOTICE TO PRINCIPAL AND NOTICE TO PRINCIPAL IS NOTICE TO AGENT

LS: Za “vus-Olys: uch fe

Larry-Otis: Jo€kson Jt,

WITNESSES

We, the undersigned witnesses, do hereby swear or affirm that it is the stated policy of Larry-Otis: Jackson Jr to present this
“LEGAL NOTICE AND DEMAND” to all law enforcement officers, agents, or Representative of the “united States of
America”, the “government of the United States as created in the original Constitution for the united States of America, circa
1787”, the “State of Illinois”, i.e. “Republic of Tllinois”, or to your “UNITED STATES CORPORATION”, also known as the
corporate “UNITED STATES, “Corp. USA”, “United States, Inc.”, or by whatever name same may currently be known or be
hereafier named, or any of its subdivisions including but not limited to local, state, federal, and/or international or multinational
governments, Corporations, agencies, or sub-Corporations, and any de facto compact (Corporate) commercial STATES
contracting therein, including the “STATE OF ILLINOIS”, or by whatever name same may currently be known or be hereafter
named, and the like, anytime that Secured Party has any mn n with them.

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First Witness Signature _sécond Witness o. ature
Date: - - a= = =

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